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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
LASTERN DIVISION (COLUMBUS)

HANNAH COTTON :
181 N. 1878 ; Case No.
COLUMBUS, OHIO 43203 :
Judge
Plamtiff,
Magistrate Judge
Vv.

OHIO DEPARTMENT OF REHABILITATION
AND CORRECTION -
LONDON CORRECTIONAL INSTITUTION
1580 ST. RT. 56
LONDON, OHIO 43140

Defendant.

COMPLAINT
Now comes Plaintiff Hannah Cotton (hereafter “Plaintiff” or “Cotton”) and for her

Complaint against the Ohio Department of Rehabilitation and Correction - London Correctional

Institute (hereafter “Defendant” or “DRC” or “LoC]) states and avers as follows:

PARTIES
l. Plaintiff Hannah Cotton is a resident of the State of Ohio.
2. Defendant Ohio Department of Rehabilitation and Correction - London Correctional

Institute is located in Madison County, London, Ohio.

JURISDICTION AND VENUE

 

3, Jurisdiction of this Court is invoked pursuant to 42 USC Section 2000¢-5(1)(3), 42
USC Section 12101 et seq.. and 28 USC Section 1331, as well as this Courlt’s power to assert

supplemental jurisdiction of state claims. Plaintiff satisfied all pre-requisites [or filme suit, including

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but not limited to obtaining a Notice of Suit Rights from the Equal Employment Opportunity
Commission. A copy of the “Notice” ts attached hereto as [exhibit A.

4. The unlawful discrimination and employment practices alleged below were
Committed within the State of Ohio, in the Southern District, Eastern Division of this Federal Court.

5, Atall relevant times hereto, Plaintiff worked for Defendant in Madison County, Ohio,
which is ihe county in which the Defendant conducted the activity which gave rise to Plaintiff's
claims for relief, and the county in which all or part of Plaintiff's claim arose.

6, At all times pertinent hereto, Defendant was an “Employer” within the meaning of
Ohio Revised Code Section 4112.01 and Title VIE of the Civil Rights Act of 1964 as amended, 42
USC Section 2000e(d)}.
FACTUAL ALLEGATIONS

7. Plaintiff Hannah Cotton (hereafter “Hannah’’) hereby incorporates her allegations set

forth in Paragraphs | through 6 above as if fully rewritten herein.

8, lIannah is a twenty-five year-old female.
9. Hannah began working for Defendant on April 16, 2018.
10. Hannah successfully worked ina correctional officer role for Defendant and received

her six-month probationary performance evaluation on September 30, 2018 for the period of April
16, 2018 to October 15, 2018, which indicated her performance was “MET.”

il. In December of 2018, Lt. Frye contacted Hannah regarding a set of keys that he could
not locate.

12. Lt. Frye sent a male co-worker, Lt. Webb, to search and pal down (“shake down’)

Hannah in an effort to retrieve the set of keys.

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13, Hannah located the keys clipped on her duty belt and tured the keys over to Lt.
Webb. who returned them to the Contrel Center.

14. However, even after turning the keys over, Lt. Webb still patted Hannah down and
searched her belongings.

15, At the time Lt. Frye sent Lt. Webb to pat down and search Hannah, there were
females available who could have performed this task. However, Lt. Webb ignored this fact and sent

a male co-worker to perform the pat down and search of Hannah’s person and belongings.

16. On January 11, 2019, Ilannah filed a complaint regarding Lt. Frye over the incident.
17. Subsequent to the filing of her complaint, Hannah received a “revised evaluation” for

the period of April 16, 2018 to January 18, 2019, which indicated that her performance was “NOT
MET”.

18. Hannah was terminated from employment on January 18, 2019, the basis cited for
which was the revised evaluation.

19. At the time Hannah received her revised evaluation of “NO MET”, there was at
least one (1) male co-worker who received an evaluation of “NOT MEP.” yet this male co-worker
was nol terminated from employment.

20. There was no legitimate reason for Plaintiffs termination. Defendant terminated
Hannah Cotton for illegal and improper reasons. Defendant terminated Hannah Cotton because she
was a woman and because she had filed a complaint.

FIRST CAUSE OF ACTION - Title VH Discrimination Based Upon Sex/Gender

 

24, Plaintiff hereby incorporates her allegations set forth in Paragraphs 3 through 20
above as if fully rewritten herein.

22. Defendant discriminated against Plaintiff with respect to the terms. conditions, and

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privileges of employment because of her sex. Defendant disciplined Plaintiff for pre-textual reasons
because of her sex, all in violation of 42 USC Section 2000.

23, By disciplining Plaintiff, and otherwise discriminating against her on the basis of her
sex, Defendant committed unlawful employment practices within the meaning of 42 USC Section
2000e-2(a) in violation of the Title Vil of the Civil Rights Act of 1964, as amended.

24. Plaintiff is a member of a protected class and is qualified for the position of
employment with Defendant from which she was unlawfully terminated.

25. Defendant acted with malice and/or with reckless malfeasance to Plaintiff's
protected rights, and for such willful conduct, Defendant is hable for punitive damages.

26. Asa direct and proximate result of Defendant's conduct set forth above, Plaintiff has
suffered compensatory and punitive damages, including but not limited te emotional and physical
distress. suffcring, inconvenience, mental anguish, loss of enjoyment of life, lost wages and income,
and other benefits to which she was entitled, an amount to be determined at trial.

SECOND CAUSE OF ACTION — TITLE VITRETALIATION

 

27. Pjainuff incorporates her allegations set forth in Paragraphs | through 26 above as

if fully rewrttten herein.

28. Plaintiff engaged in activity protected by Title VU.
29. Defendant was aware that Plaintiff had filed a complaint.
30, Subsequent to Plaintiff filing her complaint on January 11,2019, Defendant issued a

“revised evaluation” which indicated Plaintiff's performance was “NOT ME” and then terminated

Plaintiff on January 18, 2019.

Lad
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There is a causal connection between the Defendant's activities and the exercise

of Plaintiff's protected activity.

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Asa direct and proximate result of Defendant's conduct set forth above, Plaintiff

has suffered compensatory and punitive damages, including but not limited to emotional and

physical distress, suffering. convenience, mental anguish. joss of enjoyment of life, lost wages

and income, and other benefits te which she was entitled, an amount to be determined at trial.
WHEREFORE, Plaintiff Hannah Cotton prays for judgment against Defendant Ohio

Department Of Rehabilitation and Correction - London Correctional Institution (““LoCP’), on all

counts for compensatory and punitive damages, including but not limited to emotional and physical

distress, suffering, inconvenience, mental anguish, loss of enjoyment of life, lost wages and income,

and other benefits to which she was entitled, an amount to be determined at trial and an award of

Plaintiffs costs and reasonable attommey fees incurred relating 1o this action; ALL. TOGETHER

WITH such other relief as may be just, necessary and proper.

Respectfully submitted,

Kemp, Schaeffer & Rowe Co., LPA

By: /s/ Erica Ann Probst

Erica Ann Probst (0073486)

Attorney for Plaintiff

88 West Mound Strect

Columbus, Ohio 43215

Telephone: (614) 224-2678

lacsimile: (614) 469-7170
Erica(@@ksricgal.com

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JURY DEMAND

Now comes Plaintiff, by and through counsel, and hereby demands that a jury hear the above
case,
Respectfully submitted.
Kemp, Schaeffer & Rowe Co., LPA

By: /s/ Erica Ann Probst
Erica Ann Probst (0073486)
Attorney for Plaintiff

88 West Mound Street
Columbus, Ohio 43215
Telephone: (614) 224-2678
Facsimile: (614) 469-7170
Erica@ksriegal.com

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EEQC Form 181 (1 1/46} U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Hannah Cotton From: Indianapolis District Office
181 N. 18th 101 West Ohio St
Columbus, OH 43203 Suite 1900

Indianapolis, IN 46204

 

[| On behal of person(s} aggreved whose identity 1s
CONFIDENTIAL (29 CFR §1601.7(a})
EEOC Charge No. EEOC Representative Telephone No.

Jeremy A. Sells,
22A-2019-01046 State & Local Coordinator (317) 226-7221

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

The facis alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.
Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long afier the date(s} of the alleged
discrimination to file your charge

HUUUG

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Ld

Other (briefly state}

~ NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s} under federal iaw based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equai Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

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May 9, 2019
Enclosures(s) Michelle Eisele, (Date Mailed)
District Director
ce: STATE OF OHIO, DRG trica A. Probst
Attn: George Lopez Kemp, Schaffer & Rowe
4545 Fisher Road 88 West Mound St.

Columbus, OH 43228 Columbus, OH 43275
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Enclosure with EEOC
Form 161 (14/16}

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing sui in Federal or State court under Federal law.
if you aise plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE Suit RIGHTS — --

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this N oiice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your aiiorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for viclations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/4/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order ta recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 80-day filing period under Title Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VI, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unabie io obtain a fawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in jimited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner i requires (you should be prepared to explain in detail your
efforts to retain an attorney}. Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE - All Statutes:

You may contact the EEOC representative shown on your Notice #f you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please requesi if prompily in writing and provide
your charge number (as snown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after cur last action on the case. Therefore, if you file suit and want io review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 Gays.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
